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Angela Swan, #213793

THE LAW OFFICES OF ANGELA SWAN,

A PROFESSIONAL CORPORATION

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Attorney for Plaintiff Billie Rene’Frances Lillian Powers

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION — SANTA ANA
Billie Rene’ Frances Lillian Powers Case No. 8:17-cv-01386-DOC-KES
Plaintiff,
Vs.

BANK OF AMERICA, N.A.; THE
BANK OF NEW YORK MELLON
F/K/A THE BANK OF NEW YORK,
AS TRUSTEE, ON BEHALF OF
THE HOLDERS OF THE
ALTERNATIVE LOAN TRUST
2007-HY9, MORTGAGE PASS-

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THROUGH CERTIFICATES DEMAND FOR JURY TRIAL

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COMPLAINT

SERIES 2007-HY9; SELECT
PORTFOLIO SERVICING, INC.;
QUALITY LOAN SERVICE
CORPORATION; MORTGAGE
ELECTRONIC REGISTRATION
SYSTEMS, INC.;
COMMONWEALTH LAND TITLE
COMPANY; JON SECRIST;
NICHOLE CLAVADETSCHER; and
DOES 1 to 10, inclusive,
Defendants.

(NOTICE OF PENDENCY OF ACTION
(LIS PENDENS), PURSUANT TO CCP
SECTIONS 405.20 AND 405.21 FILED
CONCURRENTLY)

 

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JURISDICTION AND VENUE

1. The United States District Courts shall have original jurisdiction of all civil
actions where the matter in controversy exceeds the sum or value of $75,000,
exclusive of interest and costs... pursuant to 28 U.S.C. § 1332 (a). This Court has
jurisdiction over the subject matter of this action pursuant to Section 22 of the
Securities Act, 15 U.S.C. § 77v, 19 U.S.C. § 1331, and 28 U.S.C. § 1331.

2. The claims asserted herein arise under and pursuant to Sections 11, 12(a)(2),
and 22 of the Securities Act, 15 U.S.C. §§ 77k and 770, and 771(a)(2), 19 U.S.C. §
1331.

3. Venue is proper in this District pursuant to Section 22 of the Securities Act
and 28 U.S.C. § 1391(b) and (c). Many of the acts and conduct complained herein,
occurred in substantial part in this District, including the dissemination and
recording of Documents, which contained material misstatements and omissions,

complained of herein. In addition, Defendants conduct business in this District.

PARTIES

4. Plaintiff Billie Rene’Frances Lillian Powers, a natural person, is a private
individual within the meaning of California law and is a citizen of the State of
California. At all times relevant to this complaint, Plaintiff has owned the Property
located in San Juan Capistrano unincorporated, County of Orange, State of
California, bearing assessor parcel number 125-120-27, commonly known as
40701 Ortega Highway, San Juan Capistrano, CA 92530 (“Property”).

5. COUNTRY WIDE originated residential mortgages on a massive scale and
securitized loans to be sold to the Depositors, entities created by
COUNTRY WIDE, as Mortgage-Backed Securities. Plaintiff's home (Property)

loan was one of the notes that were securitized.

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6. COUNTRYWIDE, is the originator of Plaintiff's loan. COUNTRYWIDE
changed its name to BAC HOME LOANS SERVICING, LP (“BAC”). BAC
merged with or was acquired by Defendant BANK OF AMERICA, NATIONAL
ASSOCIATION (“BOA”), and became Defendant BOA in 2008. Defendant BOA
assumed COUNTRY WIDE’S liabilities, having paid to resolve other litigation
arising from misconduct such as predatory lending allegedly committed by
COUNTRY WIDE.

7. Substantially all of COUNTRY WIDE’S assets were transferred to
Defendant BOA on November 7, 2008, in connection with COUNTRY WIDE’S
integration with Defendant BOA’S other businesses and operations.
COUNTRYWIDE ceased filing its own financial statements in November 2008,
and instead its assets and liabilities have been included in Defendant BOA’S
financial statements.

8. Defendant BOA, at times relevant to this complaint is a National
Association bank doing business in the County of Orange, State of California.
Defendant BOA is the originator of Plaintiff’s loan, Depositor, and participant in
the imperfect securitization of the Note and/or Mortgage/Deed of Trust.

9. Defendant THE BANK OF NEW YORK MELLON F/K/A THE BANK OF
NEW YORK, AS TRUSTEE, ON BEHALF OF THE HOLDERS OF THE
ALTERNATIVE LOAN TRUST 2007-HY9, MORTGAGE PASS-THROUGH
CERTIFICATES SERIES 2007-HY9 (“BONY”), at times relevant to this
complaint is a New York corporation, doing business in the County of Orange,
State of California. Defendant BONY is the Trustee of ALTERNATIVE LOAN
TRUST 2007-HY9 and is a common law trust formed under the laws of the State
of New York and a participant in the imperfect securitization of the Note and the

Mortgage/Deed of Trust.

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10.Defendant SELECT PORTFOLIO SERVICING, INC., at times relevant to
this complaint is doing business in the County of Orange, State of California.
Defendant SELECT PORTFOLIO SERVICING, INC. was a Mortgage Servicer of
Plaintiff purported loan.

11.Defendant QUALITY LOAN SERVICE CORPORATION at times relevant
to this complaint is doing business in the County of Orange, State of California, as
Trustee.

12.Defendant MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,
INC. (MERS), at times relevant to this complaint is doing business in the County
of Orange, State of California. Defendant MERS is the Beneficiary for the
Securitized Trust ALTERNATIVE LOAN TRUST 2007-HY9 and is a purported
participant in the imperfect securitization of the Note and/or the Mortgage/Deed of
Trust.

13.Defendant COMMONWEALTH LAND TITLE COMPANY, at times
relevant to this complaint is doing business in the County of Orange, State of
California. Defendant COMMONWEALTH LAND TITLE COMPANY, as a Title
Insurance Company.

14. Defendant JON SECRIST, an individual, at times relevant to this complaint
is doing business in the County of Orange, State of California, as a Notary Public,
who committed perjury on recorded documents.

15.Defendant NICHOLE CLAVADETSCHER, and individual, at times
relevant to this complaint, is doing business in the County of Orange, State of

California, as a Certifying Officer of MERS, a known robo signer.

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STATEMENT OF FACTS

16.About April 13, 2007, Plaintiff opened escrow with West Coast Escrow to
begin the process of purchasing Property from Delong (“Seller”) for the purchase
price of $1,700,000.00.

17. About April 17, 2007, Plaintiff received a document titled “Additional
Escrow Instructions” from West Coast Escrow. The instructions indicated that title
was to be vested in Plaintiff solely.

18.April 26, 2007 Seller executed a Grant Deed naming Plaintiff as the sole
grantee and deposited the Grant Deed into escrow.

19.May 29, 2007, the Plaintiff received 2 documents each titled “Additional
Escrow Instructions.” Each document identified the Plaintiff as the sole buyer. A
True and correct copy of the Additional Escrow Instructions is attached hereto as
Exhibit A and incorporated herein by reference.

20.About June 1, 2007, one month after Plaintiff's Grant Deed was executed
and notarized, she was advised by COUNTRY WIDE that she needed co-signor.
Plaintiff's sister and brother-in-law, Jacqueline M. Hanson and Louis J. Hanson
agreed to co-sign.

21.About June 27, 2007, Plaintiff, Jacqueline M. Hanson and Louis J. Hanson
executed the Promissory Note (“Note”) in the sum of $1,190.000.00 and Deed of
Trust (“DOT”) to secure the Note. The DOT was recorded in Riverside County;
not Orange County. Jacqueline M. Hanson and Louis J. Hanson’s signatures were
executed by Plaintiff pursuant to a Power of Attorney. COUNTRY WIDE was the
lender on the Note and was defined as the lender on the Deed of Trust. True and
correct copies of the Deed of Trust and Fixed/Adjustable Rate Rider, and Powers
of Attorney are attached hereto as Exhibits B and C, and incorporated herein by

reference.

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22.Jacqueline M. Hanson and Louis J. Hanson requested to be taken off title
after escrow closed.

23. About July 2, 2007, escrow closed, although investor reports show that the
purported loan closed on January 2009 and a new loan appearing on February
2009.

24.The Grant Deed was materially altered. The rightful owners’ correct names
were changed to “Billie Rene Powers”, “Louise J. Hanson”, and “Jacqueline M.
Hanson” and was notarized using Nancy Gazon notary stamp without her
knowledge. A true and correct copy of the materially altered Grant Deed is
attached hereto as Exhibit D, and incorporated herein by reference.

25.About July 2, 2007, Plaintiff took possession of the Property, as her
principal residence, until she was wrongfully evicted, September 21, 2017.

26.On July 10, 2007 a new title was recorded, honoring Jacqueline M. Hanson
and Louis J. Hanson’s request to be removed from title, placing the Property in
Plaintiff's LLC’s name, Rancho Sonata LLC. A true and correct copy of the
Grant Deed is attached hereto as Exhibit E, and incorporated herein by reference.

27.November 2007, Plaintiff paid off her Home Equity Line of Credit of
$170,000.00 with COUNTRY WIDE, which accounted for 10% of Plaintiffs initial
down payment. A reconveyance of the DOT was recorded, but no original
documents were returned to Plaintiff, as required.

28.About January 2008, Plaintiff made contact with COUNTRY WIDE to seek
mortgage assistance. COUNTRY WIDE’s employee stated that COUNTRY WIDE
would only discuss mortgage assistance, if Plaintiff was 3 months delinquent on

her mortgage payments; therefore, advised her to stop making payments.

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29.Plaintiff relied on COUNTRY WIDE’S employee’s advise and stopped
making her payments as she was instructed to do in order to become eligible for
mortgage assistance. Instead, COUNTRY WIDE initiated hardship onto Plaintiff.

30.About June 5, 2008 COUNTRY WIDE recorded a Notice of Default (NOD).
Multiple Notices of Default and Trustee Sales were recorded and rescinded
between 2008 and 2010.

31.Although, From October 2009 to February 2012, Thomas Peppers name was
on title. Between 2008-2010, two (2) Loan Modifications were completed.
Plaintiff was threatened if she did not sign the Loan Modification documents,
despite the absence of Jacqueline M. Hanson and Louis J. Hanson’s signatures, she
would lose her home. Plaintiff informed Defendant BOA’s employees that the
Loan Modification was not legal without all the proper information of all
borrowers.

32.About October 2009 an illegal foreclosure was held by Thomas Peppers,
Second Trust Deed Holder. Thomas Peppers filed an unlawful detainer lawsuit
post-foreclosure sale and Plaintiff prevailed February 2012. Thomas Peppers
reconveyed title back to Plaintiff. The Second Trust Deed held by Thomas
Peppers was settled as agreed and a reconveyance of the DOT was recorded.

33.COUNTRY WIDE informed Plaintiff that Thomas Peppers attempted to take
over the First DOT, but they would not allow a takeover when there is evidence of
fraud or misrepresentations.

34. About May 4, 2010, BAC sent Plaintiff a letter demanding what it
determined to be the balance due on the Note. On May 6, 2010, BAC recorded a
NOD, wherein it declared the Acceleration of the Balance Due on the Note. The
acceleration of the Balance Due commenced its accrual of the six year statute of

limitation, as provided by California Commercial Code § 3118(a).

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35.Plaintiff was terrified and began experiencing mental anguish. As a result of
Plaintiff's mental anguish affecting her inability to stay focused on her tasks, she
began to miss a lot of work.

36.About October 26, 2010, a fraudulent document titled “Corporate
Assignment of Deed of Trust” (Assignment of DOT”) was recorded granting THE
BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK, AS
TRUSTEE, FOR THE CERTIFICATEHOLDERS CWALT, INC.,
ALTERNATIVE LOAN TRUST 2007-HY9 MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2007-HY9, a company that doesn’t exist, all beneficial
interest under the DOT, dated June 27, 2007, and evidence of Defendant MERS’
Certifying Officer’s robo signature. A true and correct copy of the Assignment of
DOT is attached hereto as Exhibit F, and incorporated herein by reference.

37.The Assignment of DOT demonstrates the robo signature of Defendant
NICHOLE CLAVADETSCHER, a Certifying Officer of MERS, who is a known
robo signer. The fraudulent Assignment of DOT was notarized by Defendant JON
SECRIST, whose notary commission number is 1893949.

38.During the year of 2012, Plaintiff filed numerous complaints in an attempt to
stop the trespassing and theft against her family’s home, and be provided a remedy
outside of court. Plaintiff filed complaints with law enforcement agencies and
governing departments of finance regarding forgeries, identity theft, counterfeit
securities, misrepresentations of facts, and questions of validation of debt against
COUNTRY WIDE/Defendant BOA, and Co-Defendants and its affiliates.

39.In addition, Plaintiff filed a “Title Insurance Ciaim”, with her title insurance
company, Defendant COMMONWEALTH LAND TITLE COMPANY, in an
effort to get assistance to stop the fraud against her title. Plaintiff's claim was

denied numerous times and Plaintiff's title issues escalated.

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40. About April 2012 Defendant SELECT PORTFOLIO SERVICING INC.
became Plaintiff's Mortgage Loan Servicer and her account number changed.

41.About November 16, 2012, Plaintiff initiated a claim with Merchants
Bonding Company, who provided a notary bond for Defendant JON SECRIST.
Plaintiff alleged in her claim that the signature for Defendant NICHOLE
CLAVADETSCHER on the Assignment of DOT was not genuine; therefore,
Defendant JON SECRIST’S representation on the notary acknowledgement, made
under penalty of perjury, that Defendant NICHOLE CLAVADETSCHER
personally appeared before him, was false. True and correct copies of the Proof of
Claim and Merchant Bonding Company's Letter are attached hereto as Exhibits G
and H, and incorporated herein by reference.

42.Merchant Bonding Company requested more information to substantiate
Plaintiff's claim. About February 27, 2013, after a 3-month investigation,
Merchant Bonding Company ruled in Plaintiff's favor, validating the fact that the
Assignment of DOT is fraudulent; therefore, void. Merchant Bonding Company
paid Plaintiff actual damages according to the policy limit of $15,000.00. A true
and correct copy of the Check is attached hereto as Exhibit I, and incorporated
herein by reference.

43, About March 2013, California Attorney General, Kamala Harris's office
agreed to investigate 18 cases of Mortgage Fraud, including Plaintiff's mortgage
fraud. Fraudulent documents were gathered and presented by CJ Holmes of
"Home Owners For Justice”.

44.October 13, 2013, Defendant QUALITY LOAN SERVICE
CORPORATION recorded a NOD and it was not the successor trustee; Therefore,
had no authority to record such document. In addition, Defendant QUALITY
LOAN SERVICE CORPORATION recorded a NOD based on a DOT that was

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void. The NOD falsely claimed that the sum necessary to reinstate the loan was
$296,356.74 as of October 30, 2013.

45. December 6, 2013, Again Defendant QUALITY LOAN SERVICE
CORPORATION recorded a NOD, without authority. In addition, Defendant
QUALITY LOAN SERVICE CORPORATION recorded a NOD based on a DOT
that was void. The NOD falsely claimed that the sum necessary to reinstate the
loan was $304,305.74 as of October 30, 2013. A true and correct copy of the NOD
is attached hereto as Exhibit J, and incorporated herein by reference.

46.1n 2014, Plaintiff was finally assigned an attorney from Defendant
COMMONWEALTH LAND TITLE COMPANY. However, the attorney was
assigned to assist with Plaintiff's easement issues, instead, of her title issues.
Plaintiff was informed by the attorney that her title claim was denied, because
Defendant COMMONWEALTH LAND TITLE COMPANY would have to
prosecute itself.

47.February 2014, investigation had not commenced as promised by the
Attorney General Kamala Harris's office pertaining to Mortgage Fraud. Plaintiff
spoke directly with Los Angeles Deputy Attorney General David Peyman
regarding the investigation of the 18 cases of Mortgage Fraud, now called "The
California 18". Deputy Attorney General David Peyman said to Plaintiff, “it only
takes one piece of fraud to make the contract void, per contract law.” Deputy
Attorney General David Peyman promised to forward Plaintiff's claim to the
Orange County District Attorney’s Office, but he could not promise any assistance
from them.

48,February 28, 2014, a Substitution of Trustee, was recorded naming
Defendant QUALITY LOAN SERVICE CORPORATION as successor Trustee

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under the DOT. A true and correct copy of the Substitution of Trustee is attached
hereto as Exhibit K, and incorporated herein by reference.

49.March 2014, Plaintiff performed an audit and reconciliation of records as the
Custodian of Records. Plaintiff accepted the original Grant Deed’s existence in the
audit of records/reconciliation; however, she never seen it.

50.Prior to August of 2014, Plaintiff attempted to contact Nancy F. Ganzon, the
notary who notarized the original Grant Deed that was materially altered, forged,
and recorded. Plaintiff attempted to locate Nancy F. Ganzon and she was unable to
locate her; therefore, Plaintiff filed a claim against Nancy F. Ganzon’s notary
bond.

51.Nancy F. Ganzon contacted Plaintiff regarding the fraudulent Grant Deed.
About August 27, 2014, Nancy F. Ganzon executed an affidavit declaring that the
Grant Deed recorded is a fraudulent Grant Deed, bearing her signature and notary
stamp; however, it is not the Grant Deed she notarized, but instead is an altered
version of the one she notarized. A true and correct copy of the Affidavit of Nancy
F. Ganzon notarized on November 11, 2014, is attached hereto as Exhibit L, and
incorporated herein by reference.

52.September 25, 2014, a NOD was recorded by Defendant QUALITY LOAN
SERVICE CORPORATION. Again, Defendant QUALITY LOAN SERVICE
CORPORATION was not the successor Trustee; therefore, it had no authority to
record such document. In addition, Defendant QUALITY LOAN SERVICE
CORPORATION recorded a NOD based on a DOT that was void. The NOD
falsely claimed that the sum necessary to reinstate the loan was $356,429.14 as of
September 23, 2014. In addition, the NOD, falsely states under penalty of
perjury that “the provisions of California Civil Code § 2923.55 do not apply

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because the property is not owner occupied as defined by California Civil
Code § 2924.15.”

53.November 18, 2014, Plaintiffs LLC, Rancho Sonata grants Property to
Plaintiff. A true and correct copy of the Bank Statement is attached hereto as
Exhibit M, and incorporated herein by reference.

54.April 2015, Plaintiff ran a legal publication in the newspaper regarding the
fraudulent Grant Deed and other legal issues affecting her home, estate and heirs.

55.July 2015, Plaintiff recorded a NOD against Defendant BONY for failure to
cure the fraud. Plaintiff provided an affidavit with supporting evidence, including
a Waiver of Tort of 15.3 million dollars and treble damages of 1.7 million dollar.
The foundation of Plaintiff's damages: 1) forged Grant Deed; 2) landlocked
property; and 3) void Corporation Assignment pursuant to notary fraud. A true
and correct copy of the Notice of Default recorded against Defendant BONY is
attached hereto as Exhibit N, and incorporated herein by reference.

56.All parties were noticed by registered mail and leading up to the day of the
foreclosure sale through registered mail, fax, email and phone. Defendant BONY
never responded; despite the direct evidence of material facts and fraudulent NODs
recorded.

57.September 30, 2015, a Notice of Trustee’s Sale was recorded.

58.October 7, 2015, Plaintiff and her family were assaulted at gun point by the
Orange County Swat, without a warrant. The Deputy Sheriff claimed that
Plaintiff's Property was foreclosed upon and sold, and Plaintiff was a tenant
refusing to leave. Also, Plaintiffs utilities were shutoff with false claims.

59.Plaintiff notified Sheriff Hutchens via email and phone calls regarding the
terror and fear inflicted upon Plaintiff and her family by the Orange County Sheriff

Department, as they assisted cell tower employees to trespass onto Plaintiff's land.

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60. About February 29, 2016, Plaintiff had a third party, Authorized Agent,
Keith Pillich, hold a scheduled meeting in Utah with Defendant SELECT
PORTFOLIO SERVICING, INC., Plaintiff's purported Loan Servicer. This was
the second in-house meeting where original documents were to be produced and
they were not.

61.The meeting was scheduled to inspect original, wet ink signature,
documents. After 2 hours, Plaintiff on speaker phone, while texting with Keith
Pillich, Attorney Scott Hansen, counsel! for Defendant SELECT PORTFOLIO
SERVICING, INC. and other representatives of the company failed to produce the
documents, as promised. Attorney Scott Hansen told Keith Pillich to have Plaintiff
to contact him for settlement negotiations; however, $30.4 million was discussed.

62.About March 2016, Plaintiff opened an escrow with Shamrock Escrow in
order to negotiate the settlement, per Attorney Scott Hansen. The NOD Plaintiff
filed against Defendant BONY et al and costs were included. A third party
representative, Christine Fitzpatrick, handled the emails between Defendant
SELECT PORFOLIO SERVICING, INC. and the escrow company. Defendant
SELECT PORFOLIO SERVICING, INC. failed to complete negotiations, instead
it foreclosed upon Plaintiff's Property; dual tracking.

63.August 8, 2016, more than six years after the Acceleration of Debt, Plaintiff
Property was foreclosed upon; a Trustee Sale was conducted by Defendant
QUALITY LOAN SERVICE CORPORATION, utilizing fraudulent documents.
Plaintiff made every attempt through multiple cease and desist letters, phone calls,
facsimiles, and emails leading up to the very moment of the Trustee Sale to inform
the purported Trustee of the illegal Foreclosure against her Property.

64.August 15, 2016, Defendant QUALITY LOAN SERVICING
CORPORATION executed a Trustee’s Deed Upon Sale, which did not appear in

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| the land records until after September 23, 2016. The Trustee’s Deed Upon Sale
conveys the Property to Defendant THE BANK OF NEW YORK MELLON,
F/K/A THE BANK OF NEW YORK, AS TRUSTEE, ON BEHALF OF THE
HOLDERS OF THE ALTERNATIVE LOAN TRUST 2007-HY9, MORTGAGE
PASS-THROUGH CERTIFICATES SERIES 2007-HY9 (Defendant BONY).
The company that initiated the foreclosure process is not the holder of the
beneficial interest under the mortgage or deed of trust; therefore, did not have
authority to foreclose; moreover, the company does not exist. A true and correct
copy of the Trustee’s Deed Upon Sale attached hereto as Exhibit O, and
incorporated herein by reference.

65.Subsequent to the August 15, 2016 foreclosure sale, Defendant BONY, as
Trustee, for the Certificate Holders of the REMIC Trust filed an unlawful detainer
lawsuit against Plaintiff.

66.About October 2016, the Property tax bill was still in Plaintiff's name.

67.January 2017, Plaintiff found a letter on her gate from a realtor offering her
Cash for Keys.

68.Plaintiff sent the realtor company a demand letter requesting proof of
representation and a cease and desist letter, with a Waiver of Tort for damages in
the event any action was taken without proof of standing.

69.June 8, 2017, Plaintiff recognized an unlawful detainer lawsuit, filed by
Defendant BONY, taped to her gate, stating that she was served a 3/90 Foreclosure
Notice to Quit. Plaintiff was never served any type of notices.

70.The Wolf Law Offices responded on Plaintiff's behalf, with supporting
documentation relating to the Wrongful Foreclosure. Plaintiff did not worry,

because she believed her attorney was handling her unlawful detainer lawsuit.

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71.July 31, 2017, Plaintiff received a cal! from Deputy Sheriff Theis, informing
Plaintiff that an eviction hearing is scheduled for August 6, 2017. Deputy Sheriff
Theis stated he called to inform Plaintiff of the posting, because he was aware that
Plaintiff no longer resided in my home. Plaintiff explained that she has always
resided in her home.

72.In an attempt to protect Plaintiff and her children, August 11, 2017, Plaintiff
filed a Federal Lawsuit, as a pro per litigant for Breach of Contract; not knowing
what else to do.

73.About August 29, 2017, Plaintiff suffered a TIA, mini-stroke and was
hospitalized. Plaintiff continues to be under the doctor’s care for medical, and
emotional and psychological injuries.

74.August and September 2017, Plaintiff filed 2 Ex Parte Applications to stop
the Writ of Possession from being issued. Plaintiff announced in open court that
she was never given notice of the court date in order to be present. Also, Plaintiff
announced and presented in open court that the documents utilized to evict
Plaintiff and her family from their home are fraudulent.

75.In addition, the realtor and process server admitted in open court to knowing
a false address was used for service. Plaintiff's Ex Parte Application was denied;
despite, compelling evidence of fraud. About September 19, 2017, Plaintiff filed
an appeal, which was denied.

76.September 21 2017, approximately 8:50 am, while Plaintiff was absent from
home to meet with her attorney, Richard Snyder, her roommate called hysterical,
crying as Plaintiff's home was surrounded by Deputy Sheriffs in Sheriffs vehicles
and plain Clothes Officers, pointing assault weapons, accompanied by a helicopter,
demanding her to come out with her hands up to execute a lock out. Excessive

force was used to intimidate and in retaliation.

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77.October 2017, Attorney Snyder made calls to obtain Plaintiff's belongings.
A Notice to Reclaim Personal Property was never served. Plaintiff and her
family lost all their personal belongings; everything they owned.

78.Plaintiff later learned that Defendant BONY is not the lawful owner of the
Property; therefore, not having legal right to evict.

79.October 5, 2017, Plaintiff sent Brian Moynihan of Defendant BOA an email,
followed by a registered letter requesting a copy of the IRS 8594, and stating
information regarding the illegal foreclosure held against Plaintiff's Property.
Defendant BOA is required to answer; however, Defendant BOA never responded.

80.Bank Statements, including the payoff amount for the Property, continues to
come in Plaintiff's name. A true and correct copy of the Bank Statement is
attached hereto as Exhibit N, and incorporated herein by reference.

81.Defendants named in this action have no firsthand knowledge and Plaintiff
want to rebut any presumption of standing. Anything entered by attorneys is
hearsay.

82.Defendants conduct, as set forth herein, constitute fraud, malice, or gross
negligence such that Defendants are liable and Plaintiff is entitled to punitive
damages and Attorney’s cost and expenses for which Plaintiff seeks judgment of
this Court.

83.Defendants had actual, subjective awareness of the risk involved in the
above described acts or omissions, but nevertheless proceeded with conscious
indifference to the rights, safety, or welfare of Plaintiff and others.

84.Plaintiff intends to show that the factors the jury may consider in
determining the amount of punitive damages, which should be awarded include:

a. The nature of the wrong committed by Defendants;

b. The character of Defendants’ conduct;

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c. The degree of culpability of Defendants;
d. The situation and sensibilities of the parties concerned; and
e. The extent to which Defendants’ conduct offends a public sense of

justice and propriety.

EXPLANATION OF SECURITIZATION

85.Securitization is the process whereby mortgage loans are turned into
securities, or bonds, and sold to investors by Wall Street and other firms. The
purpose is to provide a large supply of money to lenders for originating loans, and
to provide investments to bond holders which were expected to be relatively safe.
The procedure for selling of the loans was to create a situation whereby certain tax
laws known as the Real Estate Mortgage Investment Conduit (hereinafter
“REMIC”) Act were observed, and whereby the Issuing Entities and the Lenders
would be protected from either entity going into bankruptcy, and get pass-through
taxation treatment so only the investors would be taxed on earned income. In order
to achieve the desired “bankruptcy remoteness,” numerous “True Sales” of the
loans had to occur, in which loans were sold and transferred to the different parties
to the securitization for value.

86.A “True Sale” of the loan would be a circumstance whereby one party
owned the Note and then sold it to another party. An offer would be made,
accepted and compensation given to the “seller” in return for the Note. The Notes
would be transferred by indorsement, and the Deeds of Trust assigned to the
buyers of the Note, with an Assignment or Transfer made every step of the way
between each party.

87.Each REMIC created by the investment banks, usually under New York
Law, would be funded with thousands to tens-of-thousands of Mortgage Notes. In

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order to maintain its’ bankruptcy-protected status, REMIC’s had to have closing
dates by which every Mortgage Note and/or security device like a Mortgage of
Mortgage/Deed of Trust was to be sold into the REMIC and had to be “owned” by
the REMIC. Once the REMIC closed, it could accept no more Mortgage Notes
under the terms of REMIC law, and it would begin selling securities backed by
payments from homeowners on the Notes it “owned”.

88.How a particular mortgage loan ended up being transferred to a REMIC in
the securitization process is governed by a contract known as a Pooling and
Servicing Agreement (“PSA”). The PSA is a Trust Agreement required to be filed
under penalty of perjury with the United States Securities and Exchange
Commission (“SEC”) and which, along with another document, the Mortgage
Loan Purchase Agreement (“MLPA”), is the operative securitization document
created by the finance and securitization industry to memorialize securitization
transactions.

89.The PSA governing the REMIC requires Plaintiff's Note and Deed of Trust
to be indorsed and assigned, or transferred, respectively, to the trust and executed
by multiple intervening parties in a specific chain of assignment before it reaches
the REMIC Trustee. No recorded assignment of the Deed of Trust or transfer of
the Note, to gain ownership of Plaintiff's Mortgage, was ever recorded in the local
real property records, as required under the PSA.

90. When the Plaintiff closed on her Property, her Original Lender, Realty
Mortgage Corporation, dba Mylor Financial (August 2007, business dissolved),
signed a PSA that governed Plaintiff's particular Mortgage Note. The PSA
agreement, details the closing date by which the homeowner’s loan must be “sold”
into the REMIC, and describes exactly how the homeowner’s Note is to find its
way from the Original Lender to the REMIC trust.

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91.A typical PSA calls for a homeowner’s Note to be transferred at least four
times to different key parties before it comes into possession of the REMIC trustee.
Here is a chart detailing the typical key party assignment chain required by a
typical PSA:

 

92.Under the common law, the holder of the Note has the right to payments on
the Note, and the holder of the Note would also hold the powers under the Deed of

Trust, like the right to foreclose on the homeowner if the homeowner defaults on
the Note. Traditionally, before investment banks began securitizing Mortgage
Notes, the holder of the Note would universally hold the Mortgage/Deed of Trust.
This made sense because the party with the right to collect payments on the Note
would want to be able to foreclose using the Mortgage/Deed of Trust if the
homeowner defaulted.

93, However, to streamline the securitization process, the investment banks
created an entity called Mortgage Electronic Registrations System (““MERS”). The
investment bank, in addition to using MERS, an electronic database, to track the
buying, selling, and assignments of the Securitized Mortgage Note (bypassing the
county clerks’ offices), named MERS as a “nominee” or “beneficiary” in the Deed
of Trust, and sold the Note into securitization but not the Deed of Trust, thereby
unlawfully separating the Mortgage Note from the Deed of Trust.

94.Plaintiff alleges that Defendants cannot show proper receipt, possession,

transfer, negotiations, assignment and ownership of the borrower’s original

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Promissory Note and Deed of Trust, resulting in imperfect security interests and
claims.

95.Plaintiff further alleges that Defendants cannot establish possession and
proper transfer and/or indorsement of the Promissory Note and/or proper
assignment of the Deed of Trust; therefore, none of the Defendants have perfected
any claim of title or security interest in the Property. Defendants do not have the
ability to establish that the Mortgage/Deed of Trust that secures the indebtedness,
or Note, were legally or properly acquired.

96.The transfers of Plaintiff's debt or obligation did not comply with New York
Law, and other laws and statutes, and, thus, do not constitute valid and enforceable
“True Sales.” Defendant CR TITLE SERVICES, INC. did not have the requisite
title, perfected security interest or standing to proceed in a foreclosure.

97.Plaintiff alleges that an actual controversy has arisen and now exists between
the Plaintiff and Defendants. Plaintiff desires a judicial determination and
declaration of her rights with regard to the Property, Promissory Note, and Deed of
Trust.

98.Plaintiff also seeks damages and for cancellation of written instruments
based upon, but not limited to: (a) Void “True Sale(s),” assignments and/or
transfers of the Note and Deed of Trust violating New York law and express terms
of the Pooling and Servicing Agreement (“PSA”) governing the securitization of
Plaintiff's Mortgage; (b) An incomplete and ineffectual perfection of a security
interest in Plaintiff's Home due to void transfers and/assignments of Plaintiff's
note, and (c) giving no notice of those assignments under the Truth in Lending Act.

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| THE ASSIGNMENT OF THE PLAINTIFF’S

DEED OF TRUST FROM MERS IS VOID

99 Defendant MERS was named the “beneficiary” of the Mortgage/Deed of
Trust. Defendant MERS lacks the authority under its corporate charter to foreclose
a mortgage, or to own or transfer an interest in a Securitized Mortgage because
MERS charter limits MERS’ powers and duties to functioning as an electronic
registration system of certain types of securities for member banks only.

100. Documents have not been submitted authorizing Defendant MERS, as
nominee for the original lender, to assign the Deed of Trust to Defendant BONY.
Hence, Defendant MERS lacked authority as mere nominee to assign Plaintiff's
purported Deed of Trust, making any assignment from Defendant MERS defective.
In the instant action, Defendant MERS, as the nominee not only lacks authority to
assign the Deed of Trust, but cannot demonstrate the REMIC Trustee’s knowledge
or consent to the assignment by Defendant MERS to Defendant BONY.

101. Any attempt to transfer the beneficial interest of a Trust Deed without
actual ownership of the underlying Note, is void under law. Therefore, Defendant
MERS cannot establish that its assignment to Defendant BONY is valid and not

vold.

LACK OF STANDING TO FORECLOSE

102. Plaintiff is informed and believes, and thereon alleges, that in order to
conduct a foreclosure action, a person or entity must have standing.

103. Plaintiff contends that Defendant QUALITY LOAN SERVICE
CORPORATION did not have the standing to foreclose on the Property.
Defendants cannot show duly perfected title, nor can they show a complete chain
of valid assignments or transfers of the Note together with the Deed of Trust along

the chain of securitization.

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104. There were no actual assignments or transfers of the Note at any stage
of the securitization chain of title, most commonly: 1) Original Lender to
Aggregator; 2) Aggregator to Sponsor; 3) Sponsor to Depositor; 4) Depositor to
New York Statutory Pass-Through Trust). If there were any such assignments,
each is fraudulent, or void.

105. Defendant MERS did not comply with the terms of the securitization
requirements, contained in the PSA.

106. Plaintiff requests that this Court find that the purported power of sale
contained in the Deed of Trust had no force and effect, because Defendants’
actions in the processing, handling and foreclosure involved numerous fraudulent,
false, deceptive and misieading practices, including, but not limited to, violations
of Federal Laws designed to protect borrowers, which has directly caused Plaintiff
to be at an equitable disadvantage.

107. Defendants, through the actions alleged above, have or claim the right
to have legally foreclosed, August 8, 2016, under said Deed of Trust, a foreclosure
sale supported by false and fraudulent documents, which has caused and continues
to cause Plaintiff great and irreparable injury. Plaintiff has suffered physical,

psychological, emotional, and economic damages.

CAUSES OF ACTION
(Against All Defendants)

COUNT I: CONSPIRACY

108. Plaintiff re-alleges and incorporates by reference all preceding
paragraphs as though fully set forth herein.

109. This claim is predicated upon Defendants’ strict liability for material

misstatements and omissions in the mortgage loan transfer to a REMIC in the

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securitization process, governed by a PSA, a Trust Agreement filed under penalty
of perjury with the United States Securities and Exchange Commission.

a. Defendants systematically ignored underwriting standards imposed by
state and federal laws in issuing, the mortgages pooled into the
REMIC.

b. Defendants promoted “unfair” loans under California law and
concealed problems with mortgages, failing to take sufficient steps to
avoid placing problem loans in securitization pools. The unfair
business practices included: Coaching borrowers to misstate their
income on loan applications to qualify for mortgage loans; steering
borrowers to more expensive loans that exceeded their borrowing
capacity; encouraging borrowers to borrow more than they could
afford, when they could not qualify for full documentation loans
based on their actual incomes; Incentivizing its employees to approve
borrowers under exceptions to underwriting policies; and
systematically overriding flags identified by the CLUES system that
was meant to weed out non-qualifying loans and nonetheless
approving such loans.

c. Plaintiff has demonstrated herein how Defendants conspired against
Plaintiff, inflicting continuous emotional distress, for one cause,
“economic gain.” The scheme consisted of many attempts to take
Plaintiff's home, violating her rights, despite the threat of becoming
physically harmed and homeless.

d. Each Defendant by virtue of his, her or its control, ownership, offices,
directorship, and specific acts was, at the time of the wrongs alleged

herein and as set forth herein, a controlling person of Defendant BOA

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within the meaning of Section 15 of the Securities Act. Defendants
had the power and influence, and exercised the same to cause

Defendant BOA to engage in the acts described herein.

110. Defendants acted in concert and conspired together to commit the
tortious acts described herein. Accordingly, these Defendants should be held
jointly and severally liable for any damages awarded to Plaintiff as a result of this

action.

COUNT II: VIOLATION OF DEPARTMENT OF HOUSING AND URBAN
DEVELOPMENT (“HUD”)
111. Plaintiff re-alleges and incorporates by reference all preceding

paragraphs as though fully set forth herein.

112. HUD has promulgated regulations outlining the mortgage servicing
responsibilities of mortgagees, 24 C.F.R. § 203.500, et seq., which were never
followed in this case. The government-insured mortgage loan program has a
salutary goal of promoting better housing for lower income individuals. See
Ferrell, 743 F.2d at 455-56. As Ferrell notes, the program recognizes that its
mortgagors will often have difficulty making full and timely payments. Id. at 456.
The notice requirements considered today, as well as the mortgage assignment
program, both ensure that financially strapped homeowners will have every
opportunity to take informed steps to retain their homes.

113. Defendant BOA is in violation of CFR 203.604, which states that
“Mortgagee must have a face to face interview with Mortgagor, or make a
reasonable effort to arrange a face to face interview” the Defendant did not comply
with this portion of the code because Plaintiff never received a certified return

receipt of the notice to meet.

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114. Defendant BOA did not comply with CFR 203.675 regarding the
Notice of Pending Acquisition required by Mortgagee before conclusion of the
foreclosure. Defendant BOA is not in compliance with section 203.606 of the
Federal Regulations Code (Pre-Foreclosure Review), because they have not met
any of the other requirements of the code and for these reasons Plaintiff seeks
relief. Defendants did not follow requirements in compliance with servicing
guidelines for conducting a H.U.D. approved foreclosure.

115. The initiation of the foreclosure proceedings, August 8, 2016, by
Defendant QUALITY LOAN SERVICE CORPORATION was not authorized by
the Secretary of HUD nor in compliance with CFR Sections 203.500, 602, 604,
606, and 675 which governs the procedures of how servicers are to handle defaults
of a federally insured loan. Moreover, the Notice of Default was not in compliance
with CFR Section 203.602, as per the ruling in Federal National Mortgage
Association v. Moore 609 F. Supp. 194 (N_D.Ill 1985). This document affected the
interest in real estate and, if recorded was required to be recorded truthfully, to
allow the general public access to honest records.

116. §203.500 Mortgage servicing: This subpart identifies servicing
practices of lending institutions that HUD considers acceptable for mortgages
insured by HUD. Failure to comply with this subpart shall not be a basis for denial
of insurance benefits, but failure to comply will be cause for imposition of a civil
money penalty, including a penalty under §30.35(c)(2), or withdrawal of HUD's
approval of a mortgagee. It is the intent of the Department that no mortgagee shall
commence foreclosure or acquire title to a property until the requirements of this
subpart have been followed.

117. §203.502 Responsibility for servicing: (a) After January 10, 1994,

servicing of insured mortgages must be performed by a mortgagee that is approved

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by HUD to service insured mortgages. The servicer must fully discharge the
servicing responsibilities of the mortgagee as outlined in this part. The mortgagee
shall remain fully responsible to the Secretary for proper servicing, and the
actions of its servicer shall be considered to be the actions of the mortgagee.
The servicer also shall be fully responsible to the Secretary for its actions as a
servicer.

118. (b) Whenever servicing of any mortgage is transferred from one
mortgagee or servicer to another, notice of the transfer of service shall be
delivered: (1) By the transferor mortgagee or servicer to the mortgagor. The
notification shall be delivered not less than 15 days before the effective date of the
transfer and shall contain the information required in §3500.21(e)(2) of this title;
and (2) By the transferee mortgagee or servicer: (i) To the mortgagor. The
notification shall be delivered not less than 15 days before the effective date of the
transfer and shall contain the information required in §3500.21(e)(2) of this title;
and (ii) To the Secretary. This notification shall be delivered within 15 days of the
transfer, in a format prescribed by the Secretary.

119. (e) Each servicer of a mortgage shall deliver to the mortgagor a
written notice of any assignment, sale, or transfer of the servicing of the mortgage.
The notice must be sent in accordance with the provisions of §3500.21(e)(1) of this
title and shall contain the information required by §3500.21(e)(2) of this title.
Servicers must respond to mortgagor inquiries pertaining to the transfer of
servicing in accordance with §3500.21(f) of this title.

120. §203.604 Contact with the mortgagor: (b) The mortgagee must have
a face-to-face interview with the mortgagor, or make a reasonable effort to arrange
such a meeting, before three full monthly installments due on the mortgage are

unpaid. If default occurs in a repayment plan arranged other than during a

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| personal interview, the mortgagee must have a face-to-face meeting with the

mortgagor, or make a reasonable attempt to arrange such a meeting within 30 days
after such default and at least 30 days before foreclosure is commenced, or at least
30 days before assignment is requested if the mortgage is insured on Hawaiian
home land pursuant to section 247 or Indian land pursuant to section 248 or if
assignment is requested under §203.350(d) for mortgages authorized by section
203(q) of the National Housing Act.

121. (d) A reasonable effort to arrange a face-to-face meeting with the
mortgagor shall consist at a minimum of one letter sent to the mortgagor certified
by the Postal Service as having been dispatched. Such a reasonable effort to
arrange a face-to-face meeting shall also include at least one trip to see the
mortgagor at the mortgaged property, uniess the mortgaged property is more than
200 miles from the mortgagee, its servicer, or a branch office of either or it is
known that the mortgagor is not residing in the mortgaged property. (ii) Inform the
mortgagor of other available assistance, if any; (iii) Inform the mortgagor of the
names and addresses of HUD officials to whom further communications may be
addressed.

122. §203.614 Special forbearance: If the mortgagee finds that a default
is due to circumstances beyond the mortgagor's control, as defined by HUD, the
mortgagee may grant special forbearance relief to the mortgagor in accordance
with the conditions prescribed by HUD.

123. §203.616 Mortgage modification: The mortgagee may modify a
mortgage for the purpose of changing the amortization provisions by recasting the
total unpaid amount due for a term not exceeding 360 months. The mortgagee must
notify HUD of such modification in a format prescribed by HUD within 30 days of

the execution of the modification agreement.

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124. §203.675 Notice to occupants of pending acquisition: (a) At least 60
days, but not more than 90 days, before the date on which the mortgagee
reasonably expects to acquire title to the property, the mortgagee shall notify the
mortgagor and each head of household who is actually occupying a unit of the
property of its potential acquisition by HUD. The mortgagee shall send a copy of
this notification to the appropriate HUD Field Office.

125. Plaintiff never received notice, when the purported mortgage loan was
transferred to Defendant SELECT PORTFOLIO SERVICING, INC.; Defendants
never responded to Plaintiff's inquires; Plaintiff was instructed by the mortgagor’s
employee that she could not receive mortgage assistance until she was three month
delinquent; and Plaintiff never received a certified letter to arrange a face-to-face

visit to discuss her options before foreclosure.

COUNT Hi: VIOLATION OF HOMEOWNER’S BILL OF RIGHTS

126. Plaintiff re-alleges and incorporates by reference all preceding
paragraphs as though fully set forth herein.

127. California Code of Civil Procedure, Section 2923.55 requires the
mortgage servicer to send a statement to the borrower stating that the borrower
may have rights under the Federal Servicemembers Civil Relief Act, and a
statement that the borrower may request a copy of the borrower’s promissory note,
deed of trust or mortgage, “any assignment, if applicable, of the borrower’s
mortgage or deed of trust required to demonstrate the right of the mortgage
servicer to foreclose,” and a copy of the borrower’s payment history...

128. California Code of Civil Procedure, Section 2923.7 states, upon
request from a borrower who requests a foreclosure prevention alternative, the

mortgage servicer must promptly establish a single point of contact and provide to

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the borrower one or more direct means of communication with the single point of
contact. The “single point of contact” must be either an individual or team of
personnel each of whom is knowledgeable about the borrower’s situation and has
the ability and authority to carry out specified types of activities relating to the
borrower’s situation such as ensuring that the borrower is considered for
foreclosure prevention alternatives offered by or through the mortgage servicer and
informing the borrower about the status of his or her application.

129. Upon Plaintiff's request of a foreclosure prevention alternative, she
was not provided a “single point of contact.” Plaintiff requested that the fraudulent
documents be cured and she was ignored. She also required inquiries and was
ignored.

130. Prohibition on “Robosigning”, California Code of Civil Procedure,
Section 2924.17 says that declarations recorded pursuant to Sections 2923.5 or
2923.55, notices of default, notices of sale, assignments of deeds of trust, and
substitutions of trustee recorded in connection with a nonjudicial foreclosure, and
declarations filed in court with respect to any foreclosure proceeding must be
accurate and complete and supported by competent and reliable evidence. Before
recording any of those documents, the mortgage servicer must review competent
and reliable evidence to substantiate the borrower’s default and the right to
foreclose, including the borrower’s loan status and loan information.

131. Plaintiff's mortgage servicer permitted fraudulent real estate
document to be recorded and an illegal foreclosure to occur. Defendant NICHOLE
CLAVADETSCHER, robo signature appears on record documents; despite code
specifying “the mortgage servicer must review competent and reliable evidence to

substantiate the borrower’s default.

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| 132. The law prohibits Dual Tracking. California Code of Civil Procedure,
Section 2924.18 states, if a borrower submits a complete application for a first lien
loan modification offered by, or through, the borrower’s mortgage servicer, the
mortgage servicer shall not record a notice of default, record a notice of sale, or
conduct a trustee’s sale while the complete application is pending, and until the
borrower has been provided with a written determination by the mortgage servicer
regarding that borrower’s eligibility for the requested loan modification. Plaintiff's
First Lien Loan Modification Application was complete and submitted, when the
Notice of Trustee Sale was recorded and the nonjudicial foreclosure sale was
conducted.

133. California Code of Civil Procedure, Section 2924.19 provides a
private right of action against Smaller Residential Mortgage Lenders for material
violations of Sections 2923.5, 2924.17 or 2924.18, and Section 2924.12 provides a
private right of action against Larger Residential Mortgage Lenders for material
violations of Sections 2923.55, 2923.6, 2923.7, 2924.9, 2924.10, 2924.11, or
2924.17. After foreclosure, a borrower may recover actual economic damages
resulting from a material violation of any of those sections, where the violation
was not corrected prior to the foreclosure. If the material violation was intentional
or reckless or resulted from willful misconduct by the mortgage servicer, the court
may award the borrower the greater of treble actual damages or statutory damages
of $50,000. A prevailing borrower under either Section 2924.19 or 2424.12 may
be awarded attorney’s fees and costs.

134, The foregoing is in addition to any other rights, remedies, or
procedures available under any other law. A violation of the sections shall also be
deemed a violation of the lender’s license, and subject it to appropriate action by

its licensing agency.

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135. California Code of Civil Procedure, Section 2924(a)(6} was added
stating that no entity shall record or cause a notice of defauit to be recorded or
otherwise initiate the foreclosure process unless it is the holder of the
beneficial interest under the mortgage or deed of trust, the trustee under the
deed of trust, or the designated agent of the holder of the beneficial interest acting
within the scope of its authority.

136. Defendant QUALITY LOAN SERVICING CORPORATION
fraudulently recorded NODs repeatedly, despite the fact, it did not have authority.

COUNTIV: VIOLATION OF THE TRUTH IN LENDING ACT (TILA)
§1641(g)

137. Plaintiff re-alleges and incorporates by reference all preceding
paragraphs as though fully set forth herein.

138. An amendment to the TILA (effective since the Helping Families
Save their Home Act of 2009) compels a creditor to provide the borrower with a
disclosure when the debt (Note) is sold to anew owner. See 15 U.S.C. §1641(g).

139. Contents of the notice must include: 1) the identity, address, and
telephone number of the new creditor; 2) the date of transfer; 3) how to reach an
agent or party having authority to act on behalf of the new creditor; 3) the location
and place where transfer of ownership of the debt is recorded; and 4) any other
relevant information regarding the new creditor. Id.

140. If the creditor fails to provide this notice, the TILA provides for
statutory damages of $4,000 per violation plus any actual damages sustained,
regardless of intent of the creditor. See 15 U.S.C. §1640(a)(1, 2).

141. Defendants never provided such a notice.

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COUNT V: SIX-YEAR STATUTE OF LIMITATIONS EXPIRED TO
FORECLOSE
142. Plaintiff re-alleges and incorporates by reference all preceding

paragraphs as though fully set forth herein.

143. Under California law, a real Property lien and the power of sale to
enforce it become void if a mortgagee does not seek to foreclosure under a DOT
within six-years of the date the cause of action accrues. To satisfy the statute of
limitations, mortgagees must either bring suit for judicial foreclosure or complete a
nonjudicial foreclosure sale within six-years of acceleration.

144. California Code, Commercial Code - COM § 3118, states, (a) Except
as provided in subdivision (e), an action to enforce the obligation of a party to pay
a note payable at a definite time shall be commenced within six years after the due
date or dates stated in the note or, 1f a due date is accelerated, within six years after
the accelerated due date.

145. Plaintiff ‘s last acceleration was dated May 4, 2010.

COUNT VI: PROMISSORY ESTOPPEL

146. Plaintiff re-alleges and incorporates by reference all preceding
paragraphs as though fully set forth herein.

147. Promissory estoppel serves as a “consideration substitute” in contract
law that renders certain promises otherwise lacking in consideration binding and
enforceable. In such cases, the promisee’s reliance is treated as an independent
and sufficient basis for enforcing the promise. Promissory estoppel can be viewed
as a legal device that prohibits the promissor from denying the existence of a
contract for lack of consideration.

148. In general, the elements of promissory estoppel are: 1) a promise

reasonably expected by the promissor to induce action or forbearance; 2) action or

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forbearance by the promisee in justifiable reliance on the promise (i.e. “detrimental
reliance”); 3) injustice can be avoided only through enforcement of the promise.

149. Plaintiffs entire life (family, friends, work, fellowship...) relied on
the promise that was made to her when she purchased her home. Although,
Plaintiff's Note and DOT are unlawful, the reliance is enforceable, as promised.
For the past eleven (11) years, Plaintiff has been in a fragmented state of mine,
unable to stay focus, due to the on-going high level of stress in her life, inflicted by
Defendants.

150. As a direct and proximate result of the Defendants’ conduct, Plaintiff
has been damaged in an amount to be established at trial.

151. As a result, Plaintiff has suffered physical, psychological, emotional,

and economic damages.

COUNT VH: WRONGFUL FORECLOSURE

152. Plaintiff re-alleges and incorporates by reference all preceding
paragraphs as though fully set forth herein.

153. In California, the tort of wrongful foreclosure requires: (1) a legally
owed duty to the Plaintiff by the foreclosing party (2) a breach of that duty (3) a
causal connection between the breach of that duty and the injury the Plaintiff
sustained, and (4) damages.

154. California courts have further clarified this cause of action by stating,
a trustee or mortgagee may be liable to the trustor or mortgagor for damages
sustained where there has been an illegal, frauduient or willfully oppressive sale of
property under a power of sale contained in a mortgage or deed of trust.” Munger
v. Moore, 11 Cal. App. 3d 1, 7, [89 Cal. Rptr. 323, 326] (Cal. Ct. App. 1970)

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155. Plaintiff's foreclosure was illegal, fraudulent, and willfully
oppressive. Plaintiff has suffered emotional distress as a proximate cause of
Defendants’ wrongful conduct. Where there is a wrongful foreclosure, the
borrower may seek punitive damages. Kachlon v. Markowitz (2008) 168

Cal. App.4th 316, 345 [85 Cal.Rptr.3d 532, 554].
156. Plaintiff's Property was foreclosure upon utilizing fraudulent
recorded documents. The purported Trustee and Mortgagee was knowledgeable of

the fraudulent documents, but caused the foreclosed anyway.

COUNT VIII: WRONGFUL EVICTION

157. Plaintiff re-alleges and incorporates by reference all preceding
paragraphs as though fully set forth herein.

158. Defendants evicted Plaintiff pursuant to 1161a, which authorizes the
purchaser at of a Trustee’s Sale to evict the former owner of the property through
an unlawful detainer action. Gross v. Superior Court (1985) 171 Cal. Appi3d 265,
271,

159. Under section }161a, a purchaser who has acquired the title at such
Trustee’s Sale must prove that the property was sold in accordance with section
2924 of the Civil Code and that title under the sale has been duly perfected.
(Seidell v. Anglo-California Trust Co. (1942) 55 Cal.App.2d 913, 920, italics
added.)

160. The Defendant in an unlawful detainer action may challenge title to
the limited extent the defendant contends the sale was not properly conducted
pursuant to section 2924 of the Civil Code by a person or entity acting “under a
power of sale contained in a deed of trust”, and that title to the property sold at the
Trustee’s auction was not “duly perfected.” Civil Code Procedure, § 1161a, (b)(3).

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167. Plaintiff was heard in an Ex Parte Hearing, where fraud against her
Property was ignored. No party with standing to evict Plaintiff from her home was
present and all testimonies were hearsay.

168. A tenant who has been a victim of wrongful eviction can file a lawsuit
against the landlord and receive compensation for certain damages, including:
Statutory Damages: Depending on your particular situation, they may be calculated
per day or per violation. Many local rent ordinances provide for trebled (triple)
damages. Actual Damages: These can temporary housing costs or increased rent if
the tenant has been displaced and forced to incur additional costs. Pain, suffering,
and inconvenience can be included. Other Expenses: Court costs and reasonable
attorney’s fees if you hire an attorney to represent you.

169, As aresult, Plaintiff has suffered physical, psychological, emotional,

and economic damages.

COUNT EX: BREACH OF CONTRACT

170. Plaintiff re-alleges and incorporates by reference all preceding
paragraphs as though fully set forth herein.

171. Plaintiff is required to plead and show specific elements: (1) The
existence of a contract; (2) Plaintiff's performance or excuse for nonperformance;
(3) Defendant’s breach, and (4) Damages to Plaintiff there from.

172. The Deed of Trust in this case is an enforceable contract under
CALIFORNIA law. The purported Deed of Trust defines “Lender” as
“COUNTRY WIDE BANK, FSB”.

173. “MERS” is defined as “a separate corporation that is acting solely as a
nominee for Lender and Lender’s successors and assigns ... MERS is a

beneficiary under this Security Instrument . . .”

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174, The term ‘Lender’ includes any holder of the Note who is entitled to
receive payments under the Note.” Only the “Lender” can foreclose on the
property. Plaintiff’s Note was secured by a fraudulent DOT.

175. The foreclosing party under the Deed of Trust must be a “Lender” as
the Deed of Trust defines “Lender.” No Defendant is or can be a “Lender” with
power to foreclose because the Deed of Trust defines “Lender” to “include “any
Note Holder,” and no Defendant can prove it holds or held the Note. The only
other party that can be a “Lender” under the Deed of Trust, other than the Note
Holder, is the original lender, who sold the Note along the chain of securitization
years ago.

176. In order for the original lender to sell the Note they must abide by the
Deed of Trust which states the Note must be sold “together with the security
instrument.” No Defendant properly transferred the Note “together with” the Deed
of Trust; therefore, no Defendant is a “Lender” with the right to foreclose under the
Deed of Trust.

177. Defendants have breached the Deed of Trust by causing to be filed
documents in the Real Property records indicating they have a secured interest
under the Deed of Trust when they do not and cannot act as a “Lender” under that
instrument.

178. Defendants’ breach has caused Plaintiff damages, and such breach is

the proximate cause of those un-liquidated damages.

COUNT X: FRAUD AND DECEIT
179. Plaintiff re-alleges and incorporates by reference all preceding

paragraphs as though fully set forth herein.

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180, “Actual fraud occurs, when, among other circumstances, a person
makes a promise without the intention of performing it. To prove a cause of action
for actual fraud requires evidence of” ‘(1) representation; (2) falsity; (3) knowledge
of falsity; (4) intent to deceive; and (5) reliance and resulting damage (causation).’
Fraud causes of action must be pled with specificity. Hills Transportation Co. y.
Southwest Forest Ind., Inc. (1968) 266 Cal. App.2d. 702, 707. The Complaint
must allege facts as to “how, when, where, to whom, and by what means the
representations were tendered.”’ Stansfield v. Starkey (1990) 220 Cal. App.3d 59,
73.

181. The requirement of specificity in a fraud action against a corporation
requires the plaintiff to allege the names of the persons who made the allegedly
fraudulent representations, their authority to speak, to whom they spoke, what they
said or wrote, and when it was said or written” Tarmann v. State Farm Mut. Auto.
Ins. Co. 1991) 2 Cal. App. 4th 153, 157.

182. “Tt is the general rule that courts have power to vacate a foreclosure
sale where there has been fraud in the procurement of the foreclosure decree or
where the sale has been improperly, unfairly or unlawfully conducted, or is tainted
by fraud, or where there has been such a mistake that to allow it to stand would be
inequitable to purchaser and parties.” Bank of America Nat’! Trust & Sav. Ass’n
v. Reidy, 15 Cal.2d 243, 248 (1940).

183. Plaintiff alleges that there is evidence of prejudicial procedural
irregularity, and that there are no documents or records that can be produced,
demonstrating proper assignment of the Deed of Trust, and proper Substitution of
Trustee.

184. As a result of COUNTRY WIDE’s systemic disregard for its

underwriting guidelines, many homeowners lost their homes and drove

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COUNTRYWIDE to the brink of bankruptcy. To survive, COUNTRY WIDE
merged with Defendant BOA in a $4.1 billion stock exchange in January 2008.

185. As reported by the Federal Bureau of Investigation (“FBI”) in its 2006
and 2007 Mortgage Fraud Reports, a study of three million residential mortgage
loans found that between 30% and 70% of early payment defaults were linked to
significant misrepresentations in the original loan applications. The
misrepresentations included income inflated by as much as 500%, appraisals that
overvalued the property by 50% or more and fictitious employers and falsified tax
returns.

186. As set forth above, it is now apparent that COUNTRY WIDE
mortgage originators routinely encouraged such misstatements and omissions in
loan applications.

187. Plaintiff alleges that there are no documents or records that can be
produced, demonstrating prior to the required “Closing Date” for the REMIC, the
Note was duly indorsed, transferred and delivered to the REMIC, including all
intervening transfers.

188. Plaintiff alleges that Defendants cannot show proper receipt,
possession, transfer, negotiations, assignment and ownership of the borrower’s
original Promissory Note and Deed of Trust, resulting in imperfect security
interests and claims.

189. Plaintiff alleges that Defendants cannot establish possession and
proper transfer and/or indorsement of the Promissory Note and/or proper
assignment of the Deed of Trust; therefore, none of the Defendants have perfected
any claim of title or security interest in the Property. Defendants do not have the
ability to establish that the mortgages that secure the indebtedness, or Note, were
legally or properly acquired.

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190. No recorded assignments of the Deed of Trust or transfers to gain
ownership of Plaintiff's Mortgage, was ever recorded in the local real property

records, as required under the PSA.

COUNT XI: DECLARATORY RELIEF

191, Plaintiff re-alleges and incorporates by reference all preceding
paragraphs as though fully set forth herein.

192, “[D]eclaratory relief is designed in a large part as a practical means of
resolving controversies, so that parties can conform their conduct to the law and
prevent future litigation.” Meyer v. Sprint Spectrum L.P., (2009) 45 Cal.4th 634,
648.

193. Plaintiff believes that Defendants dispute Plaintiffs contention, and
instead contend that Defendants and their affiliates had the legal right to foreclose
on the Plaintiff's Property.

194, Plaintiff therefore request a judicial determination of the rights,
obligations and interest of the parties with regard to the ownership of the Property
and the Note, and such determination is necessary and appropriate at this time
under the circumstances so that all parties may ascertain and know their rights,
obligations and interests with regard to the Property and the Note.

195. Plaintiff requests a determination of whether any Defendant had
authority to foreclose on the Property.

196. Plaintiff request an order declaring that Plaintiff is entitled to the
exclusive possession of the Property, and that Defendants have no monetary

interest in the Note or Property.

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197. Plaintiff requests an order declaring that Plaintiff owns in fee simple,
and is entitled to the quiet and peaceful possession of, the above-described real
property, as against all Defendants, and the world.

198, Plaintiff also requests an order declaring and adjudges that Defendant,
and each of them, and all persons claiming under them, have no estate, right, title,

lien, or interest in or to the Property or any part of the Property.

COUNT XII: QUIET TITLE
199. Plaintiff re-alleges and incorporates by reference all preceding

paragraphs as though fully set forth herein.

200. Plaintiff seeks a determination of title under California Code of Civil
Procedure Part 2, Title 10, Chapter 4 and Section 764.080 (a) (b).
201. To maintain this cause of action, Plaintiff must allege the Defendant

asserts an adverse, superior claim to title. Twain v. Harle Homeowner Ass’n v.
Patterson, 193 Cal.App.3d 184, 188 (1987). A Quiet Title action is framed simply
by alleging that the Plaintiff is the owner and entitle to possession and that the
Defendant claims an interest, adverse to the Plaintiff, without right. Wolfe v. Lipsy,
163 Cal. Appl. 3d 633 (1985).

202. Further, CCP section 761.010(b) requires a Plaintiff bringing a Quiet
Title Action to record a Lis Pendens “[i]mmediately upon commencement of the
action.”

203. Plaintiff seeks Quiet Title and such a determination is sough due to
the Wrongful Foreclosure described herein. All Defendants named herein claim or
wrongly claimed, at some time, a secured monetary interest and estate in the
Property. Defendants appear to claim the ownership of the Note and

corresponding power of sale under the fraudulent Deed of Trust securing the Note.

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204. The claim of all Defendants, past, present, and future, are without and
are without any right whatsoever, and no Defendant has a right, estate, title, lien
power of sale or any interest of any kind in or to the Property, or any part of the
Property.

205. Plaintiff, therefore, alleges that none of the Defendants in this case,
now or at any time, hold/held a perfected, legal, and secured claim in the Property;
and that all Defendants are estopped and precluded from asserting an unsecured
claim against Plaintiffs estate.

206. Plaintiff, therefore, alleges that none of the parties to the securitization
transaction, nor any of the Defendants in this case, now or at any time, hold/held a
perfected, legal, and secured claim in the Property; and that all Defendants are
estopped and precluded from asserting an unsecured claim against Plaintiff's
estate.

207, Plaintiff requests the decree permanently enjoining Defendants, and

all persons claiming under them, from asserting any claim to Plaintiff's title to the

Property.

COUNT XHI: DEFAMATION OF CHARACTER

208. Plaintiff re-alleges and incorporates by reference all preceding
paragraphs as though fully set forth herein.

209. Defendants have published false statements to the Credit Bureaus and
have sent false statements detailed in Notices mailed. This act was deliberate to
humiliate Plaintiff publically.

210. The essence of the publications, when taken as a whole and as would
have been perceived by a reasonable reader, states: (a) Plaintiff is irresponsible

and refuses to pay her bills; and (b) Plaintiff is not trustworthy.

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211. Defendants’ calculated and designed scheme is to leave the public,
viewer, or reader with an entirely false and untrue impression that Plaintiff is not
trustworthy, she refuses to pay her bills, and as a result she has lost her home to
foreclosure. These untrue statements of Plaintiff have defamed her, thus causing
her injury, embarrassment, humiliation and other compensable damages.

212. The false information published by Defendants as alleged in this Third
Amended Complaint is defamatory, in that, as reasonably understood, the
information tended to harm the character and reputation of Plaintiff, so as to lower
her in the opinion and estimation of the community, and in her profession, and to
deter other persons from associating or dealing with her.

213. Defendants published the false statements to countless individuals,
knowing the statements were false, acting with reckless disregard for whether the
statements were true, intending to leave a false impression, acting with ill will, or
intending to harm Plaintiff, her reputation and good will. Accordingly, Defendants’
acts were committed with actual malice.

214, As a result of the dissemination of the defamatory statements,

innuendos, and implications, Plaintiff has suffered damages and seeks recovery.

COUNT XIV: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
215. Plaintiff re-alleges and incorporates by reference all preceding

paragraphs as though fully set forth herein.

216. Infliction of Emotional Distress must plead facts demonstrating (1)
extreme and outrageous conduct by the Defendant with the intention of causing, or
reckless disregard of the probability of causing, emotional distress; (2) Plaintiffs’
suffered severe or extreme emotional distress and (3) Plaintiff's injuries were

actually and proximately caused by the Defendants’ outrageous conduct.

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217. Defendants’ actions concerning Plaintiff's Property were intentional
and reckless.

218. Defendants’ conduct regarding Plaintiff's Property was extreme and
outrageous.

219. Defendants’ actions and conduct proximately caused Plaintiff to suffer
severe emotional distress.

220. Defendants’ carelessness in not exercising the laws that protect the
people, where ordinary and reasonable care should have been exercised, caused
Plaintiff harm.

221. Plaintiff's Promissory Note and Deed of Trust was sold into a
REMIC; PSA requirements were ignored and fraudulent Deed of Trust was
reassigned.

222. Defendants engaged in conduct described herein, with the intention of
reckless disregard of the probability of causing severe or extreme emotional
distress to Plaintiff.

223. Defendants intentionally caused Plaintiff extreme psychological
suffering through its actions. The conduct of Defendants was outrageous and goes
beyond all bounds of human decency, resulting in Plaintiff's homelessness.

224. As a direct and proximate result of Defendants’ conduct, Plaintiff has
suffered and continues to suffer severe and extreme emotional distress of such
substantial quantity or enduring quality that no reasonable person in a civilized
society should be expected to endure. Plaintiff allege that such severe emotional
distress has included without limitations embarrassment, anger, chagrin,
disappointment, shame, worry, nausea and other forms of mental and emotional!

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225, Defendants’ outrageous conduct was the actual and proximate cause
of the emotional distress discussed herein. As a direct and proximate result of the
Defendants’ conduct, Plaintiff has been damaged in an amount to be established at
trial.

226. Defendants’ conduct intentionally and/or recklessly caused extreme
emotional distress to Plaintiff and has been intentional, malicious and oppressive,
thereby entitling Plaintiff to recover punitive damages in an amount to be
determined at trial.

227. Plaintiff seeks recovery for actual damages, including metal anguish

and medical expenses, court costs, interest, and punitive damages.
COUNT XV: NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

228. Plaintiff re-alleges and incorporates by reference all preceding
paragraphs as though fully set forth herein.

229. Plaintiff must allege: (1) a legal duty to use due care (2) breach of
that duty, (3) the breach as proximate cause of resulting injury and (4) damages.

230. Defendants engaged in “conduct intended to inflict injury or engaged
in with the realization that injury will result”, as described herein.

231. Defendants’ unlawful business practices of wanting to continue to
hide material facts regarding Plaintiff's original Grant Deed and Mortgage,
Plaintiff has been subjected to tortuous treatment, extreme prejudice in the manner
in which Plaintiff's account has been handled. Defendants’ treatment has appeared
progressively intentional, designed to make sure Plaintiff lose her physical and
emotional abilities to seek justice.

232. Plaintiff has demonstrated herein how Defendants conspired against

Plaintiff, inflicting continuous emotional distress, for one cause, “economic gain.”

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|The scheme consisted of taking Plaintiff's home, violating her rights, despite her

becoming physically harmed and homeless.

233. Defendants owed Plaintiff a duty of care and as a result of
Defendants’ Unlawful Business Practices, the breaches of duty alleged herein,
resulting in a direct and proximate cause in Plaintiff's pain and suffering. Plaintiff
suffered and continues to suffer physical, psychological, emotional, and economic

damages, all in an amount to be proven at trial.

COUNT XVI: UNFAIR COMPETITION

234, Plaintiff re-alleges and incorporates by reference all preceding
paragraphs as though fully set forth herein.

235. Defendants are a business that have engaged in acts or practices that
are unlawful, fraudulent and unfair with respects to their dealings with and
conceming Plaintiff.

236. California state courts have repeatedly held that all that is necessary to
establish a violation of B&P § 17200 et seq., is to show that the defendant is a
business engaged im acts or practices that are unlawful, fraudulent or unfair. ”
Daugherty v. American Honda Motor Co., Inc. (2006) 144 Cal. App. 4th 824, 837.

237. The unlawful practices prohibited by the statute are any practices
forbidden by law, be it civil or criminal, federal, state, or municipal, statutory,
regulatory, or court made. Saunders v. Superior Court (1994) 27 Cai. App. 4th
832, 838-39.

238. An unlawful business practice or act is “unfair” when it “offends an
established public policy or when the practice is immoral, unethical, oppressive,
unscrupulous or substantially injurious to consumers. People v. Casa Blanca

Convalescent Homes, Inc. (1984) 159 Cal. App. 3d 509, 530.

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239. Defendants’ conduct constituted an unlawful business act or practice
in that it violated numerous Federal Laws pertaining to real property.

240. Plaintiff alleges that Defendants’ conduct constituted an unfair
business act or practice under Bus. and Prof. Code 17200, violating numerous
Federal laws pertaining to real property. Defendants’ conduct has inflicted and
continues to inflict harm onto Plaintiff, such conduct is without any legitimate
business justification, and such conduct offends established public policy and is
immoral, unethical, oppressive, unscrupulous and substantially injurious to
Plaintiff and to the public at large. The harm to Plaintiff caused by Defendants’
conduct far outweighs any alleged benefits that Defendants might claim.

241. Defendants’ unlawful business practices were intentional, malicious
and oppressive, which has physically harmed Plaintiff, thereby entitling Plaintiff to

recover punitive damages in an amount to be determined at trial.

REQUEST FOR RELIEF
WHEREFORE, Plaintiff prays for relief and judgment, as follows:
1. Plaintiff is the fee simple owner of all rights, title, and interest in and to the
described real property;
2. Defendants do not have any right, title, estate, or interest in or lien on the
described real property;
3. Actual Damages in a sum according to proof, but not less than
$7,000,000.00.
Special Damages in an amount to be determined by proof at trial;
General Damages in an amount to be determined by proof at trial;

Punitive Damages in the sum, no less than $63,000,000.00;

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Restitution as allowed by law;

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8. Reasonable Attorney’s cost and expenses incurred in this action, including
counsel fees and expert fees; and

9. Such other relief as the Court may deem just and proper.

Plaintiff hereby demands a jury trial on all issues raised in this complaint.

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DATED: 2 / Iq Mt Respectfully submitted,
THE LAW OFFICES OF
ANGELA SWAN, A PROFESSIONAL
CORPORATION

 

BY: HA

Ahgdla Swan, Esq., ,
Attorney for Billie Rene Frances Lillian
Powers

VERIFIED THIRD AMENDED COMPLAINT
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VERIFICATION
iam the Plaintiff in this action. i have read the foregoing Third Amended
Complaint, and it is true of my own knowledge, except as to those matters stated
on information or belief, and as to those matters, i believe it to be true.
I declare under penalty of perjury under the laws of the State of

California that the foregoing is true and correct.

    

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VERIFIED THIRD AMENDED COMPLAINT
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